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                                                                        October 26, 2020


BY ECF

Hon. Alison J. Nathan
United States District Judge
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street, Courtroom 20D
New York, New York 10007-1312

         Re: In Re Application of Benjamin Steinmetz for an Order to Take Discovery from
             Vale S.A., Vale Americas Inc., Rio Tinto plc, and Rio Tinto Limited pursuant to
             28 U.S.C. Section 1782, Case No. 20-mc-212-AJN (S.D.N.Y.)


Dear Judge Nathan:

        We write on behalf of Applicant Benjamin Steinmetz (“Mr. Steinmetz”) in response to
the October 22, 2020 letter filed by counsel for Vale S.A. and Vale Americas Inc. (collectively,
“Vale”) regarding an order issued by the High Court of England and Wales (the “High Court”)
in the matter of Vale S.A. v. Steinmetz, No. CL-2019-000723 (the “UK Proceedings”).

         Vale fails to mention that the discovery which the High Court has ordered Vale to
produce by November 5, 2020, consists only of documents previously produced by parties in
prior litigations, namely Rio Tinto’s RICO Action against Vale, BSGR and Mr. Steinmetz, and
Vale’s LCIA Arbitration against BSGR. Incidentally, those are documents which Vale has
argued are already available to Mr. Steinmetz. See ECF No. 27 at 21–23. The High Court’s
deadline for Vale to produce all other discovery—including Vale’s own, not previously
produced work product—is not until March 22, 2021, another five months from now.

        Consequently, Mr. Steinmetz’s reasons for seeking discovery from Vale urgently
through this application under 28 U.S.C. § 1782 remain valid. Further, the fact that the High
Court ordered Vale to produce documents from Rio Tinto’s RICO Action confirms the relevance
of that action to the UK Proceedings, which underscores the need for Mr. Steinmetz to obtain
discovery through his Section 1782 application from Rio Tinto—which is not a party to the UK
Proceedings.




AMERICAS (NEW YORK, BUENOS AIRES, CHICAGO, DELAWARE, MIAMI, SAN FRANCISCO, SÃO PAULO, WASHINGTON DC)
 ASIA-PACIFIC (HONG KONG, SEOUL, SHANGHAI), EMEA (LONDON, TEL AVIV), OFFSHORE (BVI, CAYMAN ISLANDS)

           KOBRE & KIM REFERS TO KOBRE & KIM LLP,   A   NEW YORK LIMITED LIABILITY PARTNERSHIP.
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        Given the considerable time that has already passed since Mr. Steinmetz filed the instant
 application in May 2020, Mr. Steinmetz respectfully requests that the Court decide the
 application at its earliest convenience.

                                                    Respectfully submitted,

                                                    /s/ Josef M. Klazen
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                                                    Counsel to Mr. Benjamin Steinmetz

cc: Counsel for Vale and Counsel for Rio Tinto (via ECF)
